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                                                 CORRECTED


     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 18-1532V
                                          UNPUBLISHED


    WILLIAM C. CARTER,                                          Chief Special Master Corcoran

                         Petitioner,                            Filed: September 30, 2021
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Guillain-Barre
                                                                Syndrome (GBS)
                         Respondent.


Nancy Routh Meyers, Turning Point Litigation, Greensboro, NC, for Petitioner.

Mallori Browne Openchowski, U.S. Department of Justice, Washington, DC, for
Respondent.


                                DECISION ON JOINT STIPULATION 1

       On October 3, 2018, William Carter filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that he suffered from Guillain-Barre syndrome (“GBS”)
as a result of receiving a flu vaccine on October 6, 2015. Petition at 1; Stipulation, filed at
September 28, 2021, ¶¶ 1, 2, 4. Petitioner further alleges that the vaccine was
administered within the United States; that he experienced the residual effects of his injury
for more than six months, and that there has been no prior award or settlement of a civil
action for damages on his behalf as a result of his condition. Petition at 4; Stipulation at
¶¶ 3-5. Respondent denies that Petitioner sustained a GBS Table injury within the Table
time frame, and denies that the flu vaccine caused Petitioner to suffer form GBS, or any
other injury or his current condition.” Stipulation at ¶ 6.

1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        Nevertheless, on September 28, 2021, the parties filed the attached joint
stipulation, stating that a decision should be entered awarding compensation. I find the
stipulation reasonable and adopt it as my decision awarding damages, on the terms set
forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

      (1) Petitioner a lump sum payment of $196,271.63 (representing $126,271.63
          for first-year life care expenses and $70,000.00 for pain and suffering) in the
          form of a check payable to petitioner, William C. Carter;

      (2) A lump sum payment of $134,019.65, representing reimbursement of a lien
          for services rendered on behalf of Petitioner, in the form of a check payable
          jointly to Petitioner 3 and the Division of Health Benefits, and mailed to:

                                       Office of the Controller
                                      2022 Mail Service Center
                                      Raleigh, NC 27699-2022
                                       Case Number: 316387
                               Medicaid/Health Choice ID: 945851292L

      (3) An amount sufficient to purchase an annuity contract described in
          paragraph 10 of the Stipulation.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the clerk of the court is directed
to enter judgment in accordance with this decision. 4

IT IS SO ORDERED.


                                           s/Brian H. Corcoran
                                           Brian H. Corcoran
                                           Chief Special Master




3
    Petitioner agrees to endorse this payment to Division of Health Benefits.
4
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                     OFFICE OF SPECIAL MASTERS

                                                )
WILLIAM C. CARTER,                              )
                                                )
                       Petitioner,              )
     v.                                         )
                                                )               No. 18-1532V
SECRETARY OF HEALTH                             )               Chief Special Master Corcoran
AND HUMAN SERVICES,                             )               ECF
                                                )
                     Respondent.                )


                                           STIPULATION

          The parties hereby stipulate to the following matters:

          1. William C. Carter, petitioner, filed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. §§ 300aa-10 to -34 (the ''Vaccine

Program"). The petition seeks compensation for injuries allegedly related to petitioner's receipt

of an influenza ("flu") vaccine, which vaccine is contained in the Vaccine Injury Table (the

"Table"), 42 C.F.R. § 100.3 (a).

          2. Petitioner received his flu vaccination on or around October 6, 2015.

          3. The vaccination was administered within the United States.

          4. Petitioner alleges that he suffered from Guillain-Barre syndrome ("GBS") as a result

ofreceiving the flu vaccine, and that he experienced the residual effects of this injury for more

than six months.

          5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages on his behalf as a result of his condition.
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        6. Respondent denies that petitioner sustained a OBS Table injury within the Table time

frame, and denies that the flu vaccine caused petitioner to suffer from OBS, or any other injury

or his current condition.

        7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-2l(a)(l), the Secretary of Health and Human Services will issue

the following vaccine compensation payments:

        a. A lump sum of $196,271.63, which amount represents compensation for first-year life
        care expenses ($126,271.63) and pain and suffering ($70,000.00) in the form of a check
        payable to petitioner;

       b. A lump sum of$134,019.65, which amount represents reimbursement of a lien for
       services rendered on behalf of petitioner, in the form of a check payable jointly to
       petitioner and the Division of Health Benefits, and mailed to:

                                     Office of the Controller
                                    2022 Mail Service Center
                                     Raleigh, NC 27699-2022
                                      Case Number: 316387
                             Medicaid/Health Choice ID: 945851292L

Petitioner agrees to endorse this check to the Division of Health Benefits.

       c. An amount sufficient to purchase the annuity contract described in paragraph 10
       below, paid to the life insurance company from which the annuity will be purchased (the
       "Life Insurance Company").

       These amounts represent compensation for all damages that would be available under 42

U.S.C. §300aa-15(a).

        9. The Life Insurance Company must have a minimum of $250,000,000 capital and



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surplus, exclusive of any mandatory security valuation reserve. The Life Insurance Company

must have one of the following ratings from two of the following rating organiz.ations:

       a.      A.M. Best Company: A-1+, A+, A+g, A+p, A+r, or A+s;

       b.      Moody's Investor Service Claims Paying Rating: Aa3, Aa2, Aal, or Aaa;

       c.      Standard and Poor's Corporation Insurer Claims-Paying Ability Rating: AA-,
               AA, AA+, or AAA;

       d.      Fitch Credit Rating Company, Insurance Company Claims Paying Ability Rating:
               AA-, AA, AA+, or AAA.

       I 0. The Secretary of Health and Human Services agrees to purchase an annuity contract

from the Life Insurance Company for the benefit of petitioner, William C. Carter, pursuant to

which the Life Insurance Company will agree to make payments periodically to petitioner as

follows for the following life care items available under 42 U.S.C. §300aa-15(a).

       a. For future unreimbursable Medicare Part B Deductible and Podiatrist expenses,
       beginning on the first anniversary of the date of judgment, an annual amount of $593.00
       to be paid for the remainder of petitioner's life, increasing at the rate of three percent
       (3% ), compounded annually from the date of judgment.

       b. For future unreimbursable Medigap, Medicare Part D, B-12, and Miralax expenses,
       beginning on the first anniversary of the date of judgment, an annual amount of
       $2,756.16 to be paid for the remainder of petitioner's life, increasing at the rate of three
       percent (3% ), compounded annually from the date of judgment.

       c. For future unreimbursable Skilled Nursing Facility expenses, beginning on the first
       anniversary of the date of judgment, an annual amount of $100,375.00 to be paid for the
       remainder of petitioner's life, increasing at the rate of three percent (3% ), compounded
       annually from the date of judgment.

       d. For future unreimbursable Manual Wheelchair, Cushion, Manual Wheelchair
       Maintenance, Lift Chair, Adaptive Aid, Mattress Overlay, Van Lift Maintenance, and
       Acetaminophen expenses, beginning on the first anniversary of the date of judgment, an
       annual amount of $661.62 to be paid for the remainder of petitioner's life, increasing at
       the rate of three percent (3% ), compounded annually from the date of judgment.

At the sole discretion of the Secretary of Health and Human Services, the periodic payments set

forth in paragraph 10 above may be provided to petitioner in monthly, quarterly, annual or other


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instalhnents. The "annual amounts" set forth above describe only the total yearly sum to be paid

to petitioner and do not require that the payment be made in one annual instalhnent. Petitioner

will continue to receive the annuity payments from the Life Insurance Company only so long as

                                               a
he, William C. Carter, is alive atthe time that particular payment is due. Written notice shall

be provided to the Secretary of Health and Human Services and the Life Insurance Company

within twenty (20) days of William C. Carter's death.

        11. The annuity contract will be owned solely and exclusively by the Secretary of Health

and Human Services and will be purchased as soon as practicable following the entry of a

judgment in conformity with this Stipulation. The parties stipulate and agree that the Secretary

of Health and Human Services and the United States of America are not responsible for the

payment of any sums other than the amounts set forth in paragraph 8 herein and the amounts

awarded pursuant to paragraph 12 herein, and that they do not guarantee or insure any of the

future annuity payments. Upon the purchase of the annuity contract, the Secretary of Health and

Human Services and the United States of America are released from any and all obligations with

respect to future annuity payments.

        12. As soon as practicable after the entry of judgment on entitlement in this case, and

after petitioner has filed both a proper and timely election to receive compensation pursuant to

42 U.S.C. § 300aa-21(a)(l), and an application, the parties will submit to further proceedings

before the special master to award reasonable attorneys' fees and costs incurred in proceeding

upon this petition.

        13. Petitioner and his attorney represent that they have identified to respondent all

known sources of payment for items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa-15(g), including State compensation programs, insurance policies,



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Federal or State health benefits programs (other than Title XIX of the Social Security Act

(42 U.S.C. § 1396 et seq.)), or entities that provide health services on a pre-paid basis.

        14. Payments made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 12 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-15(0,

subject to the availability of sufficient statutory funds.

        15. The parties and their attorneys further agree and stipulate that, except for any award

for attorneys' fees and litigation costs, and past unreimbursable expenses, the money provided

pursuant to this Stipulation either immediately or as part of the annuity contract, will be used

solely for petitioner's benefit as contemplated by a strict construction of 42 U.S.C. § § 300aa-

15(a) and (d), and subject to the conditions of 42 U.S.C. §§ 300aa-15(g) and (h).

        16. In return for the payments described in paragraphs 8 and 12, petitioner, in his

individual capacity, and on behalf of his heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions or causes of action

(including agreements, judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Court of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S.C. § 300aa-10 et seq., on account of, or in any way growing out of, any and all

known or unknown, suspected or unsuspected personal injuries to or death of petitioner resulting

from, or alleged to have resulted from, the flu vaccination administered on October 6, 2015, as

alleged by petitioner in a petition for vaccine compensation filed on or about October 3, 2018, in

the United States Court of Federal Claims as petition No. 18-1532V.




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        17. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.

        18. If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        19. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 12 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

       20. Petitioner hereby authorizes respondent to disclose documents filed by petitioner in

this case consistent with the Privacy Act and the routine uses described in the National Vaccine

Injury Compensation Program System of Records, No. 09-15-0056.

       21. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused petitioner's alleged OBS or

any other injury or his current condition.

       22. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                     END OF STIPULATION



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 Respectfully submitted,

 PETITIONER:



 WILLIAMC. CARTER '

ATTORNEY OF RECORD FOR                            AUTHORIZED REPRESENTATIVE
PETITIONER:                                       OF THE ATTORNEY GENERAL:


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N~                 RS,ESQ.                        HEATHER L. PEARLMAN
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AUTHORIZED REPRESENTATIVE                         ATTORNEY OF RECORD FOR
OF THE SECRETARY OF HEALTH                        RESPONDENT:
AND HUMAN SERVICES:
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TAMARA OVERBY
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                                                   MALLORI B. OPENCHOWSKI
Acting Director, Division of Injury                Trial Attorney
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Rockville, MD 20857


Dated:   o'f }Z,S}UJ Z. I




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